                     Case 1:08-cr-00067-LJO Document 198 Filed 04/12/12 Page 1 of 3
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
               GILBERT GARCIA
                      (Defendant’s Name)                                  Criminal Number: 1:08CR00067-003


                                                                          Robert D. Wilkinson
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) 1, 2, 3, 4, 5, 6 and 7 as alleged in the violation petition filed on August 5,
    2011 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on November 9, 2010 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dismissed.

[U]      Appeal rights given                  []        Appeal rights waived

[U]       Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                             April 9, 2012
                                                                                    Date of Imposition of Sentence


                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer


                                                                       LAWRENCE J. O’NEILL, United States District Judge
                                                                              Name & Title of Judicial Officer


                                                                                                 April 12, 2012
                                                                                                      Date
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AO 245D-CAED (Rev. 09/2011) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                1:08CR00067-003                                                            Judgment - Page 2 of 3
DEFENDANT:                  GILBERT GARCIA

                                                       ADDITIONAL VIOLATION
                                                                                 Date Violation
Violation Number                     Nature of Violation                         Concluded

CHARGE 1                             Unlawful Use of a Controlled Substance      April 14, 2011

CHARGE 2                             Failure to Participate in Counseling        March 22, 2011; May 17, 2011;
                                     Appointment as Directed                     June 28, 2011

CHARGE 3                             Failure to Participate in Drug Testing      July 26, 2011; August 1, 2011
                                     as Directed

CHARGE 4                             Failure to Complete Community Service       May 1, 2011

CHARGE 5                             Failure to Submit Monthly Supervision       March 2011 to July 2011
                                     Forms as Directed

CHARGE 6                             Failure to Notify of Change in Residence    July 21, 2011

CHARGE 7                             Failure to Follow the Instructions of the   July 22, 2011
                                     Probation Officer
                    Case 1:08-cr-00067-LJO Document 198 Filed 04/12/12 Page 3 of 3
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               1:08CR00067-003                                                                Judgment - Page 3 of 3
DEFENDANT:                 GILBERT GARCIA


                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 2 years .


[U]      The court makes the following recommendations to the Bureau of Prisons:

         1.       The Court recommends that the defendant be incarcerated in a California facility, but only insofar as this
                  accords with security classification and space availability.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
